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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES - GENERAL

 

Case No.: CV 21-05859 SB (ADSx) Date: October 20, 2021

 

Title: Roy Davis Gash v. Coldwater Canyon Fee Owner LLC et al

 

 

Present: The Honorable STANLEY BLUMENFELD, JR., U.S. District Judge

 

Victor Cruz N/A
Deputy Clerk Court Reporter
Attorney(s) Present for Plaintiff(s): Attorney(s) Present for Defendant(s):
None Appearing None Appearing

Proceedings: [In Chambers]: ORDER TO SHOW CAUSE RE DISMISSAL
FOR LACK OF PROSECUTION

Plaintiff is hereby ordered to show cause in writing by not later then
November 3, 2021, why this action should not be dismissed for lack of
prosecution.

The court will consider the filing of the following as an appropriate response
to this Order to Show Cause, on or before the above date:

e Answer by the Defendant(s) or Plaintiff's request for entry of
default;

In accordance with Rule 78 of the Federal Rules of Civil Procedure and
Local Rule 7-15, no oral argument of this matter will be heard unless ordered by
the court. The Order will stand submitted upon the filing of the response to the
Order to Show Cause. Failure to respond to the court's Order shall result in
the dismissal of the action.

CV-90 (12/02) CIVIL MINUTES — GENERAL Initials of Deputy Clerk VPC

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